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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA

                                           CIVIL MINUTES-GENERAL


Case No. CV 20-6980-E                                                              Date: November 5, 2020

Title: JONG JA KIM v. K K KATHY, LLC, ET AL.



DOCKET ENTRY


PRESENT:

                HON. CHARLES F. EICK, JUDGE

                   STACEY PIERSON                                                  N/A
                  DEPUTY CLERK                                       COURT REPORTER

ATTORNEYS PRESENT FOR PLAINTIFFS:                           ATTORNEYS PRESENT FOR DEFENDANTS:

                None                                                               None


PROCEEDINGS:        (IN CHAMBERS)


          PROCEEDINGS:           (IN CHAMBERS)           ORDER TO SHOW CAUSE (OSC) RE DISMISSAL
                                                         FOR LACK OF PROSECUTION


                  This action was filed on August 3, 2020. Plaintiff has not filed any proof of service of the
          Summons and Complaint. No Defendant has filed a response to the Complaint or a request for an
          extension of time to file a response to the Complaint, or otherwise has appeared in the action. Plaintiff
          has not requested the entry of default.

                 The Court, on its own motion, orders Plaintiff to show cause in writing, no later than
          December 3, 2020, why this action should not be dismissed for lack of prosecution and for failure to
          comply with Rule 4(m) of the Federal Rules of Civil Procedure. Failure to file a timely response to this
          Order may result in dismissal of the action.


          cc: All Counsel of Record


MINUTES FORM 11                                                                             Initials of Deputy Clerk   SP
CIVIL-GEN
